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Attorney for Defendant Mehrdad Yasrebi


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                    )        No.05-CR-00413-KI
                                             )
                      Plaintiff,             )        PETITION TO ENTER PLEA
                                             )        OF GUILTY, CERTIFICATE
       v.                                    )        OF COUNSEL, AND ORDER
                                             )        ENTERING PLEA
MEHRDAD YASREBI,                             )
                                             )
                      Defendant.             )

The defendant represents to the court:

       1.      My name is Mehrdad Yasrebi.       Mi

       2.      My attorney is David H. Angeli. ~

       3.      My attorney and I have discussed my case fully. I have received a copy of the      1\\1
Information. I have read the Information, it has been read to me, and I have discussed it with my

attorney. My attorney has counseled and advised me concerning the nature of the charge, any

lesser-included offenses, and the possible defenses that I might have in this case. I have been

advised and understand that the elements of the charge alleged against me to which I am

pleading "GUILTY" are as follows: (l) that I entered into an agreement; (2) to obstruct the

lawful function of the Office of Foreign Asset Control and Internal Revenue Service of the




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United States Treasury Department; (3) by deceitful dishonest means; and (4) that I or a co-

conspirator committed at least one overt act in furtherance of the conspiracy.

        4.     I know that ifI plead "GUILTY," I will have to answer any questions that the ......'1

judge asks me about the offense to which I am pleading guilty. I also know that if I answer

falsely, under oath, and in the presence of my attorney, my answers could be used against me in

a prosecution for perjury or false statement.

        S.      I am not under the influence of alcohol or drugs, except as identified below. I am          Y1\"


not suffering from any injury, illness or disability affecting my thinking or my ability to reason.

Having spent substantial time with my attorneys discussing this matter, I am confident that my

condition does not affect my thinking or my ability to reason in this matter. I take the following

prescription medication:

   •    Advair 100lS0 (2 puffs a day);
    •   Simvastatin (40 mg, one tablet a day);
    •   Xyzal (S mg, one tablet a day);
    •   Azelastine HCL Nasal Solution (twice a day); and
    •   Finasteride (lmg, one tablet a day).

        6.      I understand that conviction of a crime can result in consequences in addition to          ii'i
imprisonment. Such consequences may include deportation, or removal from the United States,

or denial of naturalization, if I am not a United States citizen; loss of eligibility to receive federal

benefits; loss of certain civil rights (which may be temporary or pennanent depending on

applicable state or federal law), such as the right to vote, to hold public office, and to possess a

firearm; and loss of the privilege to engage in certain occupations licensed by the state or federal

government.




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       7.      I know that I may plead "NOT GUILTY" to any crime charged against me and

that I may persist in that plea if it has already been made. I know that if I plead "NOT GUILTY"

the Constitution guarantees me:

               a.      The right to a speedy and public trial by jury, during which
               I will be presumed to be innocent unless and until I am proven
               guilty by the government beyond a reasonable doubt and by the
               unanimous vote of twelve jurors;

               b.      The right to have the assistance of an attorney at all stages
               of the proceedings;

               c.     The right to use the power and process of the court to
               compel the production of evidence, including the attendance of
               witnesses in my favor;

               d.     The right to see, hear, confront, and cross-examine all
               witnesses called to testify against me;

                e.     The right to decide for myself whether to take the witness
                stand and testify, and if! decide not to take the witness stand, I
                understand that no inference of guilt may be drawn from this
                decision; and

                f.     The right not to be compelled to incriminate myself.

       8.       I know that if! plead "GUILTY" there will be no trial before either a judge or a ~

jury, and that I will not be able to appeal from the judge's denial of any pretrial motions I may

have filed concerning matters or issues not related to the court's jurisdiction.

       9.       In this case I am pleading "GUILTY" under Rule 11(c)(1)(B) of the Federal Rules ~"'\

of Criminal Procedure. My attorney has explained the effect of my plea under Rule 11(c)(1)(B)

to be as follows: The Court is not bound by the sentencing recommendations of the parties or of

the Presentence Report (PSR) writer. I may not withdraw my guilty plea or rescind my plea

agreement if the Court does not follow the agreements or recommendations contained in that

agreement.



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       10.      I know the maximwn sentence which can be imposed upon me for the crime to              t<''\

which I am pleading guilty is 5 years imprisonment and a fine of $250,000.

       11.      I know that the judge, in addition to any other penalty, will order a special    \'\''\

assessment as provided by law in the amount of $1 00 per count of conviction.

       12.      I know that if! am ordered to pay a fine, and I willfully refuse to pay that fine, I      """

can be returned to court, where the amount of the unpaid balance owed on the fme can be

substantially increased by the judge and I can be imprisoned for up to one year.

       13.      My attorney has discussed with me the Federal Sentencing Guidelines. I know               ~'\

they are used by the Court as advisory in determining a reasonable sentence. If my attorney or

any other person have calculated a guideline range for me, I know that this is only a prediction

and that it is the judge who makes the fmal decision as to what the guideline range would have

been and what sentence will be imposed. I also know that a judge may not impose a sentence

greater than the maximwn sentence referred to in paragraph (10) above.

       14.      I know from discussions with my attorney that, under the Federal Sentencing

Guidelines, if I am sentenced to prison, I am not entitled to parole. I will have to serve the full

sentence imposed except for any credit for good behavior that I earn. I can earn credit for good

behavior in prison at a rate of up to 54 days for each year of imprisonment served. Credit for

good behavior does not apply to a sentence of one year or less.

       15.      I know that if I am sentenced to prison, the judge will impose a tenn of supervised            ~'\
release to follow the prison sentence. During my supervised release term, I will be supervised by

a probation officer according to terms and conditions set by the judge. In my case, a term of

supervised release can be 1 to 3 years. If I violate the conditions of supervised release, I may be

sent back to prison.



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       16.      I know that in addition to or in lieu of any other penalty, the judge can order       It'o'\
restitution payments to any victim of any offense to which I plead guilty. I am also infonned

that, for certain crimes of violence and crimes involving fraud or deceit, it is mandatory that the

judge impose restitution in the full amount of any financial loss or hann caused by an offense. If

imposed, a victim can use an order of restitution to obtain a civil judgment lien. A restitution

order can be enforced by the United States for up to twenty (20) years from the date of my

release from imprisonment, or, if I am not imprisoned, twenty (20) years from the date of the

entry of judgment. If I willfully refuse to pay restitution as ordered, a judge may resentence me

to any sentence which could originally have been imposed.

        17.     On any fine or restitution in an amount of $2,500 or more, I know that I will be "1(\"'\

required to pay interest unless that fine or restitution is paid within fifteen (15) days from the

date ofthe entry ofjudgment.

       18.      If I am on probation, parole, or supervised release in any other state or federal ~'-\

case, I know that by pleading guilty in this court my probation, parole or supervised release may

be revoked and I may be required to serve time in that case, which may be consecutive, that is, in

addition to any sentence imposed on me in this court.

       19.      If I have another case pending in any state or federal court, I know that my ~-\

Petition and Plea Agreement in this case do not, in the absence of an express and written

agreement, apply to my other case(s), and that I can be faced with consecutive sentences of

imprisonment.

       20.      My plea of "GUILTY" is based on a Plea Agreement that I have made with the            ~'\


prosecutor. The Plea Agreement is attached hereto and incorporated herein. I have read the Plea

Agreement and I understand it.



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       21.      The Plea Agreement contains the only agreements between the United States                t<\'\
government and me. No officer or agent of any branch of government (federal, state or local) or

anyone else has promised or suggested that I will receive a lesser term of imprisonment, or

probation, or any other form of leniency if I plead "GUILTY" except as stated in the Plea

Agreement. I understand that I cannot rely on any promise or suggestion made to me by a

government agent or officer which is not stated in writing in the Plea Agreement, or which is not

presented to the judge in my presence in open court at the time ofthe entry of my plea of guilty.

       22.      My plea of "GUILTY" is not the result of force, threat, or intimidation.      '\'C'i
       23.      I 'ereby request that the judge accept my plea of "GUILTY" to the one-count              «''\
Information dated January 7, 2011, charging me with conspiracy to defraud the United States by

impeding, impairing, obstructing and defeating the lawful functions of the Treasury

Department's Office of Foreign Assets Control ("OFAC") and Internal Revenue Service ("IRS").

       24.      I know that the judge must be satisfied that a crime occurred and that I committed ~,,\

that crime before my plea of "GUILTY" can be accepted. With respect to the charge to which

I am pleading guilty, I represent that I did the following acts and that the following facts are true:

From the middle of 2006 through early 2007, as the President of the Child Foundation, I was

aware that Child Foundation funds were being used to facilitate cash transfers to Iran, for

charitable purposes but nevertheless in violation of an embargo ordered by President Clinton. It

was within my power to stop those transfers, but I failed to do so. Furthermore, I did not

disclose those transfers to the IRS, OFAC, or Child Foundation's auditors, and encouraged

several individuals to refrain from volunteering any information suggesting that cash transfers

had ever been made.




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25.    I offer my plea of "GUILTY" freely and voluntarily and of my own accord, with a full            1't\"t

understanding of the allegations set forth in the Infonnation, and with a full understanding of the

statements set forth in this Petition and in the Certificate of my attorney that is attached hereto.

       SIGNED by me in the presence of my attorney, after reading all of the foregoing pages

and paragraphs of this Petition on this 10th day of January 2011.


                                                         ~\A                     {J_,_
                                                       Mehrdad Yasrebi"Q"




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                                 CERTIFICATE OF COUNSEL

       The undersigned, as attorney for defendant Mehrdad Yasrebi, hereby certifies:

        1.      I have fully explained to the defendant the allegations contained in the

Information in this case, any lesser-included offense(s), and the possible defenses which may

apply in this case.

        2.      I have personally examined the attached Petition to Enter Plea of Guilty and

Order Entering Plea, explained all its provisions to the defendant, and discussed fully with the

defendant all matters described and referred to in the Petition.

        3.      I have explained to the defendant the maximum penalty and other consequences

of entering a plea of guilty described in paragraphs (6)-(20) of the Petition, and I have also

explained to the defendant the applicable Federal Sentencing Guidelines.

        4.      I recommend that the Court accept the defendant's plea of "GUILTY."

SIGNED by me in the presence of the above-named defendant, and after full discussion with the

defendant of the contents of the Petition to Enter Plea of Guilty, and any Plea Agreement, on this

1Oth day of January 2011.



                                              David H. Ange .
                                              Attorney for Defendant
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                                  ORDER ENTERING PLEA

       I find that the defendant's plea of GUlLTY has been made freely and voluntarily and not

out of ignorance, fear, inadvertence, or coercion. I further find the defendant has admitted facts

that prove each of the necessary elements of the crime to which the defendant has pled guilty.

       IT IS THEREFORE ORDERED that the defendant's plea of GUILTY be accepted and

entered as requested in this Petition and as recommended in the Certificate of defendant's

attorney.                   -

       DATED this    @     ~ January 2011, in open court.

                                              Judge, U.S. District Court
